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                                                                               DAN CHOROST
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                                      February 19, 2025

VIA ECF

The Honorable Leo M. Gordon
United States District Court
District of New Jersey
50 Walnut Street
Newark, New Jersey 07102

Re:    State of New Jersey v. U.S. Dep’t of Transp., et al., No. 23-cv-03885 (LMG) (LDW)
       Sokolich et al. v. U.S. Dep’t of Transp., et al., No. 23-cv-21728 (LMG) (LDW)

Dear Judge Gordon,

       On behalf of Intervenor-Defendants the Metropolitan Transportation Authority (“MTA”)
and the Triborough Bridge and Tunnel Authority (“TBTA”), we write to inform you that the U.S.
Secretary of Transportation has written today to Governor Kathy Hochul purporting to rescind the
Federal Highway Administration’s (“FHWA”) approval of the Central Business District Tolling
Program (i.e., the Congestion Pricing Program) and to terminate the Value Pricing Pilot Program
Agreement (“VPPP Agreement”) between FHWA and the Project Sponsors (the New York State
Department of Transportation, TBTA, and the New York City Department of Transportation). A
copy of the letter is attached.

        The MTA and TBTA today commenced an action challenging the purported rescission of
approval for the Congestion Pricing Program and rescission of the VPPP Agreement in the U.S.
District Court for the Southern District of New York. A copy of the Complaint is attached for
your convenience.

                                                 Sincerely,

                                                 /s/ Daniel Chorost
                                                 Daniel Chorost
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                                                 Elizabeth Knauer*
                                                 John F. Nelson*
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The Honorable Leo M. Gordon
February 19, 2025
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                                       Metropolitan Transportation Authority
                                       and the Triborough Bridge and Tunnel
                                       Authority

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